                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION


UNITED STATES OF AMERICA                              )
                                                      )
                                                      )
v.                                                    )       Criminal No. 3:10-00163
                                                      )       Judge Trauger
[1] LONNIE NEWSOME                                    )
[4] TIM ALLEN                                         )
[5] ANTHONY BROOKS                                    )
[6] ANTHONY LUMPKINS                                  )
[10] DESHAUNE JONES                                   )
[23] SHAWN HOWELL                                     )
[27] KEAIRUS WILSON                                   )
[28] MONTEZ HALL                                      )
[29] CEDRIC WOODS                                     )
[30] RONDARIUS WILLIAMSON                             )

                                            ORDER

       Some of the defendants going to trial have filed Motions For Pretrial Written Notice of

convictions that the government intends to use against the defendant at trial (Docket Nos. 795,

858, 867, 877). The government’s Response indicates that it intends to supply this information

to the defendants going to trial by January 31, 2012. (Docket No. 1013 at 3) This deadline is

not early enough for litigation of any issues with regard to this information. Therefore, it is

hereby ORDERED that these motions are GRANTED, and the government shall supply this

information to all defendants going to trial by January 9, 2012.

       It is so ORDERED.

       ENTER this 4th day of January 2012.



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                                                             ALETA A. TRAUGER
                                                              U.S. District Judge



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